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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION
_______________________________
                                      :
In re:                                : Chapter 11
                                      :
ATHENEX, INC., et al.,                : Case No. 23-90295 (DRJ)
                                                     :
                                  Debtors.
                                     :       1           (Jointly Administered)
                                     :
                                     :                   (D.E. No.: 141)
_____________________________________:

        OBJECTION OF GENSCRIPT PROBIO USA, INC. TO DEBTORS’ NOTICE
        OF EXECUTORY CONTRACTS THAT MAY BE ASSUMED AND ASSIGNED
        PURSUANT TO SECTION 365 OF THE BANKRUPTCY CODE, IN
        CONNECTION WITH THE SALE OF SUBSTANTIALLY ALL OF THE
        DEBTORS’ ASSETS, AND THE PROPOSED CURE AMOUNTS WITH
        RESPECT THERETO

        The objection of GenScript Probio USA, Inc. (“GenScript”) to the Debtors’ Notice of

Executory Contracts that May Be Assumed and Assigned Pursuant to Section 365 of the

Bankruptcy Code, in Connection With the Sale of Substantially All of the Debtors’ Assets, and

the Proposed Cure Amounts With Respect Thereto, submitted by and through its undersigned

counsel, respectfully represents the following:

        1.       On May 14, 2023 (the “Petition Date”), the above-captioned Debtors each filed

voluntary petitions under Chapter 11 Title 11 of the United States Code (the “Bankruptcy Code”).

        2.       GenScript and affiliates are leading technology and service providers of life science

research and development and manufacturers. Built upon gene synthesis technology, GenScript is

divided into four major platforms including the life science service and product platform, the




1 A complete list of each of the Debtors in these Chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/athenex. The location of Athenex’s principal place of business
and the Debtor’s service address in these Chapter 11 Cases is 1001 Main Street, Suite 600, Buffalo, NY 14203.


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biologics contract development and manufacturing organization (CDMO) platform, the industrial

synthetic products platform, and the integrated global cell therapy platform.

       3.      GenScript offers comprehensive life sciences research services and products

including custom gene synthesis and molecular biology, custom protein expression and

purification, custom peptide synthesis, antibody production, and custom cell line development,

catalog antibodies, catalog kits and eStain and eBlot. In addition, GenScript provides preclinical

drug development services, including in vitro pharmacology, in vivo pharmacology, and

antibody/protein engineering services. GenScript’s business operations span over 100 countries

and regions worldwide.

       4.      GenScript is party to a Master Services Agreement (the “Master Services

Agreement”) with an effective date of April 28, 2022 executed by and between GenScript and the

Debtor, Athenex, Inc. The Master Services Agreement encompasses services such as strategic

planning, statistical programming and analysis, data processing, project management, preclinical

services, pharmaceutical science services, contract development and manufacturing and other

research and development services as requested from time to time by the Debtor, Athenex, Inc.,

and as agreed to by GenScript as more fully set forth in relevant work orders issued within the

scope of the Master Services Agreement.

       5.      Debtors have served a Notice of Executory Contracts that May Be Assumed and

Assigned Pursuant to Section 365 of the Bankruptcy Code, in Connection With the Sale of

Substantially All of the Debtors’ Assets, and the Proposed Cure Amounts With Respect Thereto

(Doc. 141) (the “Cure Notice”), dated May 26, 2023.




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           6.       The Cure Notice identifies: (i) those executory contracts and unexpired leases that

may be assumed and assigned to the Prevailing Purchaser2 in connection with the Sale of the Assets

(the “Designated Contracts”); and (ii) the proposed cure amount to cure any and all defaults

associated with each Executory Contract set forth in the Cure Notice.

           7.       The Cure Notice provides that objections to the proposed cure amount shall be

stated with specificity.

                                                    OBJECTION

           8.       Exhibit A (line 45) to the Cure Notice sets forth a proposed cure amount for

GenScript in the amount of $256,670.00 (the “Cure Amount”).

           9.       GenScript objects to Debtors’ Cure Amount since said amount does not accurately

reflect the full amount due and owing to GenScript pursuant to Master Services Agreement.

           10.      GenScript asserts that the correct cure amount for all amounts due and owing under

the Master Services Agreement is $1,431,638.87 (the “GenScript Cure Amount”), which

GenScript Cure Amount includes all unpaid fees for project services. Attached hereto as Exhibit

“A” is GenScript’s calculation of the GenScript Cure Amount which is due and owing under the

Master Services Agreement.

           11.      GenScript’s Cure Amount must be paid by the Debtors to GenScript in order for

the Master Services Agreement to be assumed and assigned.




2   Any capitalized terms used herein not otherwise defined shall have the meanings ascribed to them in the Cure Notice.

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                                RESERVATION OF RIGHTS

       12.     GenScript reserves the right to amend its GenScript Cure Amount for other amounts

which may be or become due (“Adjustment Amounts”) and to supplement this Objection and

further reserves all other rights and remedies it may have under applicable law.

                                        CONCLUSION

       WHEREFORE, GenScript respectfully requests the entry of a Court Order which

provides: (i) that in the event that the Master Services Agreement is subject to assumption and

assignment, the Debtors shall be ordered to immediately pay to GenScript the full GenScript

Cure Amount; (ii) that all rights are reserved regarding any hearing to review the objection,

including adequate assurance of future performance; and (iii) for such other and further relief as

the Court deems equitable, just and proper under the circumstances.

                                             Respectfully submitted,

Dated: June 6, 2023                          SHANNON & LEE LLP

                                             By: /s/ R. J. Shannon
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                                                700 Milam Street, Suite 1300
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                                             WILENTZ, GOLDMAN & SPITZER, P.A.

                                             By: /s/ David H. Stein
                                                David H. Stein, Esq. (pro hac vice pending)
                                                90 Woodbridge Center Drive
                                                Suite 900, Box 10
                                                Woodbridge, NJ 07095
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                                                E-mail: dstein@wilentz.com

                                             Counsel for GenScript Probio USA, Inc.


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                                         CERTIFICATION OF SERVICE

            The undersigned certifies that on June 6, 2023, a true and correct copy of the foregoing

document was served on all parties receiving notice via the Court’s CM/ECF system and the

Objection Notice Parties listed as follows: (a) counsel to the Debtors, Pachulski Stang Ziehl &

Jones LLP, 440 Louisiana Ave., Suite 900, Houston, Texas, 77002, Attn: Michael D. Warner

(mwarner@pszjlaw.com) and 10100 Santa Monica Blvd., Suite 1300, Los Angeles, California

90067, Attn: Richard M. Pachulski (rpachulski@pszjlaw.com), Debra I. Grassgreen

(dgrassgreen@pszjlaw.com), and Shirley S. Cho (scho@pszjlaw.com); (ii) counsel to the Agent,

Sullivan & Cromwell LLP, Attn: Ari B. Blaut (blauta@sullcrom.com), Daniel R. Loeser

(loeserd@sullcrom.com), Benjamin S. Beller (bellerb@sullcrom.com), Mark E. Dendinger

(mark.dendinger@bracewell.com), Jonathan Lozano (jonathan.lozano@bracewell.com); (iii)

counsel to the Prevailing Purchaser, if one has been determined3; (iv) proposed counsel to the

Committee, (a) McKool Smith PC, 600 Travis Street, Suite 7000, Houston, TX 77002, Attn: John

J. Sparacino (jsparacino@mckoolsmith.com) and S. Margie Venus (mvenus@mckoolsmith.com);

and (b) Porzio, Bromberg & Newman, P.C., 100 Southgate Parkway, P.O. Box 1997, Morristown,

NJ 07962-1997, Attn: Warren J. Martin, Jr. (WJMartin@pbnlaw.com), Robert M. Schechter

(RMSchechter@pbnlaw.com) and Rachel A. Parisi (RAParisi@pbnlaw.com); (v) counsel to the

Stalking Horse Bidder(s), if any4; and (vi) the United States Trustee at the Office of the United

States Trustee, 515 Rusk St, #3516, Houston, Texas, 77002, (Attn: Jana Smith Whitworth

(Jana.Whitworth@usdoj.gov) and Ha Nguyen (Ha.Nguyen@usdoj.gov).




3   Information is not yet available at the time of filing.
4   Information is not yet available at the time of filing.

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Dated: June 6, 2023                 SHANNON & LEE LLP

                                    By: /s/ R. J. Shannon
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                          EXHIBIT “A”
                     (Schedule of Cure Amount)




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                                                                   Exhibit "A"
                                                             GensScript's Schedule of
                                                                 Cure Amount




                                                      Order Confirm                      Payment
Order No     Group       Order Type                   Date             Order Amount     received       Cure Amount       Order Production Status

U8371HK010   Probio      SERVICE - BDBU GCT Service        11/4/2022          170.00                           170.00 Work Delivered
U0411IA180   Probio      SERVICE - BDBU GCT Service        1/20/2023         8,950.00                         8,950.00 Work Delivered
U550AHC070   Probio      SERVICE - BDBU GCT Service         3/9/2022        29,000.00                       29,000.00 Work Delivered
U2311HK080   Probio      SERVICE - BDBU GCT Service       11/16/2022        30,341.10                       30,341.10 Work Delivered
U9573HA260   Probio      SERVICE - BDBU PAD Service        6/10/2022     1,156,899.00     378,225.00       778,674.00 In progress but already holdoff
U627JGJ050   Probio      SERVICE - BDBU GCT Service       10/10/2021        30,000.00                       30,000.00 In progress but already holdoff
U076UHJ260   Probio      SERVICE - BDBU PAD Service        11/5/2022       352,236.77                      352,236.77 In progress but already holdoff
U6513HI220   Probio      SERVICE - BDBU GCT Service       12/16/2022       188,000.00      40,500.00       147,500.00 In progress but already holdoff
U3061301G0   Probio      SERVICE - BDBU GCT Service         4/4/2023        54,767.00              -        54,767.00 Not started

                                                                         1,850,363.87     418,725.00      1,431,638.87
                         Cure Amount: $1,431,638.87
                         (net of progress payments)




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